            Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 1 of 26




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GREGORY FOX                                          :
                                                     :      CIVIL ACTION NO.
                       Plaintiff                     :
       v.                                            :
                                                     :
                                                     :
MUILTICAM, INC.                                      :
    -and-                                            :
JOHN DOES 1-5, FICTITIOUS                            :      JURY TRIAL DEMANDED
DEFENDANT(S)                                         :
                                                     :
                       Defendants                    :


                    CIVIL ACTION COMPLAINT AND JURY DEMAND

I.     PARTIES

       1.       Plaintiff, Gregory Fox, is an adult individual and citizen of the Commonwealth of

Pennsylvania, residing therein at 2058 Maple Avenue, Apt. AA2-1, Hatfield, PA 19440.

       2.       Defendant, MultiCam, Inc., was and is now a business entity, believed to be a

corporation, duly organized and existing under the laws of the State of Texas, with a corporate

headquarters and principal place of business located therein at 1025 West Royal Lane, DFW

Airport, TX 75261.

       3.       Defendants, John Does 1-5, Fictitious Defendant(s), are individuals, corporations

and/or entities whose identities are not yet known to Plaintiff, but who designed, manufactured,

apparently manufactured, sold, supplied, assembled, installed, inspected, repaired, serviced,

modified, leased, maintained and/or distributed the subject MultiCam CNC Cutting Machine

involved in Plaintiff’s accident described herein.
               Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 2 of 26




   II.          JURISDICTION AND VENUE

          4.       Jurisdiction is conferred upon this Court by virtue of the parties’ diversity of

citizenship pursuant to 28 U.S.C. § 1332.

          5.       The amount in controversy in this action is in excess of seventy-five thousand

($75,000.00) dollars, exclusive of costs and fees.

          6.       Venue is proper in this district pursuant to § 1391 because a substantial part of the

acts and/or omissions giving rise to the within claims occurred within the district and because

Defendants are subject to personal jurisdiction within the district.

   III.         STATEMENT OF CLAIMS

          7.       At all times relevant hereto, the Defendants acted by and through their respective

agents, servants, employees, workmen, and/or other representatives, who were, in turn, acting

within the course and scope of their employment, agency, and/or service for the same and under

the direct control of the Defendants.

          8.       At all times prior to May 23, 2022, the Defendants, by and through their respective

agents, servants, employees, workmen, and/or other representatives, were regularly engaged in the

business of designing, developing, manufacturing, apparently manufacturing, distributing,

inspecting, assembling, installing, marketing, licensing, maintaining, renting/leasing, providing

safety recommendations and/or selling CNC Cutting Machines and other related equipment such

as the subject MultiCam CNC Cutting Machine, Serial No. 3-405-R10036, involved in Plaintiff’s

accident, and the component parts thereto, including all instruction manuals and associated

warnings. See Photograph of Subject Product attached hereto as Exhibit A; Photograph of

“MultiCam” Label attached hereto as Exhibit B.
           Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 3 of 26




          9.     On or about May 23, 2022, Plaintiff, Gregory Fox, was lawfully working in the

course and scope of his employment with Cima Network, Inc. at its facility located at 121 New

Britain Blvd. in Chalfont, PA, and was walking near the aforesaid MultiCam CNC Cutting

Machine, which was operating, when, suddenly and without warning, an angular piece of metal

ejected out from the MultiCam CNC Cutting Machine and struck Plaintiff’s right arm, thereby

causing him to sustain various severe, gruesome and permanent bodily injuries and losses as more

fully set forth hereinafter.

          10.    As depicted in the photograph of the subject product attached to this Complaint as

Exhibits A and B, the subject MultiCam CNC Cutting Machine involved in Plaintiff’s accident was

affixed and/or otherwise labeled with Defendant MultiCam, Inc.’s name/trademark, “MultiCam”

and symbol.

          11.    Defendant, MultiCam, Inc., labeled the aforesaid MultiCam CNC Cutting Machine

and/or allowed the aforesaid MultiCam CNC Cutting Machine to be labeled and sold with its name

and/or trademark and/or symbol which readily identified Defendant, MultiCam, Inc., as the

apparent and/or actual manufacturer of the product.

          12.    As such, Defendant MultiCam, Inc. could reasonably expect end users and

consumers to purchase the aforesaid MultiCam CNC Cutting Machine in reliance upon the

reputation associated with Defendant MultiCam, Inc.’s name and Defendant MultiCam, Inc. put

out the aforesaid MultiCam CNC Cutting Machine as its own product.

                                       COUNT I
                            GREGORY FOX v. MULTICAM, INC.
                         PRODUCTS LIABILITY – STRICT LIABILITY

         13.     Plaintiff hereby incorporates by reference paragraphs one (1) through twelve (12)

of the within Complaint as though the same were fully set forth at length herein.
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 4 of 26




       14.      Defendant, MultiCam, Inc., designed, manufactured, apparently manufactured,

sold and/or placed into the stream of commerce a defective product that violated the standards

created in Tincher v. Omega Flex, 104 A.3d, 399 (Pa. 2014). More specifically, the Defendant

designed, manufactured, apparently manufactured, sold and/or placed into the stream of commerce

a defective product wherein (a) the danger was unknowable and unacceptable to the average or

ordinary consumer and/or (b) a reasonable person would conclude that the probability and

seriousness of harm caused by the Defendant’s defective product outweighs the burden or costs of

taking precautions.

       15.      Defendant, MultiCam, Inc., designed, manufactured, apparently manufactured,

prepared, assembled, tested, maintained, promoted, marketed, inspected, assembled, licensed,

distributed and/or sold the aforementioned MultiCam CNC Cutting Machine and/or its component

parts, including all instruction manuals and associated warnings, which caused Plaintiff’s accident

and injuries.

       16.      The accident described herein was caused solely and exclusively by Defendant’s

defective design, assembly, manufacture, apparent manufacture, licensing, distribution and/or sale

of the aforesaid MultiCam CNC Cutting Machine and its component parts.

       17.      Defendant is strictly liable to Plaintiff as follows:

                (a) designing, manufacturing, apparently manufacturing, assembling, licensing,
                    distributing and/or selling the subject MultiCam CNC Cutting Machine and its
                    component parts in a dangerous condition so as to cause injury to the Plaintiff;

                (b) failing to properly design, manufacture, apparently manufacture, assemble,
                    license, distribute and/or sell the subject MultiCam CNC Cutting Machine
                    with durable component parts able to withstand normal use;


                (c) failing to properly design, manufacture, apparently manufacture, assemble,
                    license, distribute and/or sell the subject MultiCam CNC Cutting Machine and
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 5 of 26




       its component parts to include an effective and durable safeguard to prevent
       the accident described above which caused Plaintiff’s injuries;

    (d) failing to properly equip the subject MultiCam CNC Cutting Machine and its
        component parts with appropriate safety mechanisms to prevent the accident
        described above which caused Plaintiff’s injuries;

    (e) failing to reasonably foresee that subsequent alterations may be made to the
        subject product, rendering the subject produce unreasonably unsafe to users,

    (f) failing to properly design, manufacture, apparently manufacture, assemble,
        license, distribute and/or sell the subject MultiCam CNC Cutting Machine and
        its component parts to warn users of the potential for the type of accident
        described above which caused Plaintiff’s injuries;


    (g) creating and allowing a dangerous condition to exist by failing to provide
        proper safety and operational instructions to end users of its product;

    (h) failing to exercise the requisite degree of care and caution in the design,
        manufacture, apparent manufacture, assembly, licensing, design, distribution
        and/or sale of the subject MultiCam CNC Cutting Machine and its component
        parts;

    (i) failing to ensure that the subject MultiCam CNC Cutting Machine was safe
        and free from hidden defects;

    (j) failing to properly inspect, test, identify and correct dangerous and defective
        conditions in the subject MultiCam CNC Cutting Machine;

    (k) failing to ensure that the subject MultiCam CNC Cutting Machine and its
        component parts could be used in a manner which would not cause a danger to
        potential ordinary consumers/users of the product, such as the Plaintiff;

    (l) failing to warn purchasers and end users of the dangers of the subject product;

    (m) failing to take timely action to warn end consumers/users or otherwise remedy
        the defective design, manufacture and/or assembly of the subject product,
        which should have been known to the Defendant prior to the date of Plaintiff’s
        accident;


    (n) failing to use industry-recognized safety specifications in the design and
        manufacture of the subject MultiCam CNC Cutting Machine;
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 6 of 26




                (o) embossing, affixing and/or otherwise labeling the subject MultiCam CNC
                    Cutting Machine and its component parts with Defendant MultiCam, Inc.’s
                    name/trademark “MultiCam” and symbol;

                (p) allowing the subject MultiCam CNC Cutting Machine and its component parts
                    to be embossed, affixed and/or labeled and sold with Defendant MultiCam,
                    Inc.’s name/trademark “MultiCam” and symbol which readily identified
                    Defendant, MultiCam, Inc., as the apparent and/or actual manufacturer of the
                    product;

                (q) vicarious liability as an apparent manufacturer of the subject MultiCam CNC
                    Cutting Machine pursuant to the Restatement (Second) of Torts §400; and

                (r) any other acts or omissions that may be revealed during discovery.

       18.      The accident described herein was due in no manner to negligence, wrongdoing or

product misuse on the part of the Plaintiff.

       19.      At all times relevant hereto, Defendant’s aforesaid MultiCam CNC Cutting

Machine and its component parts were defective and unsafe for consumer use.

       20.      At all times relevant hereto, there were latent defects in the Defendant’s aforesaid

MultiCam CNC Cutting Machine and its component parts such that the product’s defective

condition was unknown to the consumer, therefore rendering the product unacceptable for

consumer use.

       21.      The Defendant designed, manufactured, apparently manufactured, distributed,

licensed and/or sold the aforesaid MultiCam CNC Cutting Machine and its component parts in a

defective condition in violation of the Restatement (Second) of Torts §402(A), and those defects

were the sole and proximate cause of the Plaintiff’s injuries.

       22.      Defendant is strictly liable to Plaintiff as a result of the defective condition of

Defendant’s product.
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 7 of 26




       23.     In addition, Defendant designed, manufactured, apparently manufactured,

distributed and/or sold the subject MultiCam CNC Cutting Machine with defective warnings and

instructions in violation of the Restatement (Second) of Torts §402(B).

       24.     In that regard, the warnings and instructions were not adequately durable, visible,

or conspicuous, and failed to convey the risk of harm to the intended users of the aforesaid

MultiCam CNC Cutting Machine and its component parts, such as Plaintiff.

       25.     The defective warnings and instructions caused Plaintiff’s injuries.

       26.     Furthermore, Defendant is liable and/or vicariously liable to Plaintiff as an apparent

manufacturer of the subject MultiCam CNC Cutting Machine pursuant to the Restatement

(Second) of Torts §400.

       27.     In that regard, as set forth above and as depicted in the photographs of the subject

product attached to this Complaint, the subject MultiCam CNC Cutting Machine involved in

Plaintiff’s accident was embossed, affixed and/or otherwise labeled with Defendant MultiCam,

Inc.’s name/trademark “MultiCam” and symbol.

       28.     Defendant, MultiCam, Inc., labeled the subject MultiCam CNC Cutting Machine

and/or allowed the subject MultiCam CNC Cutting Machine to be labeled and sold with its name

and/or trademark and/or symbol which readily identified Defendant MultiCam, Inc. as the apparent

and/or actual manufacturer of the product.

       29.     As such, Defendant, MultiCam, Inc., could reasonably expect end users and

consumers to purchase the subject product in reliance upon the reputation associated with

Defendant MultiCare, Inc.’s name and Defendant put out the subject product as its own product.

       30.     Defendant, MultiCam, Inc., is therefore subject to the same liability as though it

was the actual manufacturer of the subject MultiCam CNC Cutting Machine pursuant to the
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 8 of 26




apparent manufacturer doctrine and Restatement (Second) of Torts §400 and is vicariously liable

for causing Plaintiff’s injuries and damages.

       31.     As a result of the aforementioned conduct of the Defendant, Plaintiff, Gregory

Fox, suffered severe and permanent injuries, including but not limited to, a severe laceration of

his right forearm requiring surgery and five sutures, permanent nerve damage in his right wrist

and forearm, and pain in the right forearm, as well as aches, pains, mental anxiety and anguish,

and a severe shock to his entire nervous system.

       32.     As a result of the aforesaid conduct of Defendant, Plaintiff has in the past and will

in the future undergo severe pain and suffering as a result of which he has been in the past and will

in the future be unable to engage in his usual activities, all to his great detriment and loss.

       33.     As a further result of the aforesaid conduct of Defendant, Plaintiff has been and will

be obliged to receive and undergo medical attention and care and to expend various sums for the

treatment of his injuries and incur such expenditures for an indefinite time in the future.

       34.     As a further result of the aforesaid accident, Plaintiff has in the past and may in the

future suffer a loss of his earnings and/or earning power, and he may incur such loss for an

indefinite period in the future.

       35.     Further, by reason of the aforesaid occurrence, Plaintiff has incurred and/or may

hereinafter incur other financial expenses all in an effort to treat and cure himself of the injuries

sustained in the aforesaid accident.

       36.     As a further result of the accident described herein, Plaintiff has or may have

suffered injuries resulting in the serious and/or permanent loss of use of a bodily function,

dismemberment, and/or scarring, which may be in full or part cosmetic disfigurements which are

or may be permanent, irreparable and severe.
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 9 of 26




       37.       As a further result of the aforesaid accident, Plaintiff has suffered a loss of the

enjoyment of his usual duties, avocations, life's pleasures and activities, and the shortening of his

life expectancy, all to his great detriment and loss.

       38.       As a further result of the aforesaid accident, Plaintiff has suffered great and

unremitting physical pain, suffering, and mental anguish, all of which may continue in the future.

       WHEREFORE, Plaintiff, Gregory Fox, demands judgment in his favor and against

Defendant, MultiCam, Inc., in an amount in excess of One-Hundred-Fifty Thousand Dollars

($150,000.00).

                                      COUNT II
                            GREOGRY FOX v. MULTICAM, INC.
                           PRODUCTS LIABILITY - NEGLIGENCE

       39.       Plaintiff hereby incorporates by reference paragraphs one (1) through thirty-eight

(38) of the within Complaint as though the same were fully set forth at length herein.

       40.       At all times material hereto, Defendant, MultiCam, Inc., owed a duty to end users

of its product, such as the Plaintiff, to exercise reasonable care in designing, licensing,

manufacturing and apparently manufacturing the aforesaid MultiCam CNC Cutting Machine and

its component parts, and to sell and/or distribute that product in a reasonably safe condition.

       41.       The Defendant was negligent in designing, manufacturing, apparently

manufacturing, assembling, marketing, licensing, distributing and/or selling the defectively

designed and manufactured MultiCam CNC Cutting Machine and its component parts, which

consisted of the following:

                 (a) carelessly and negligently designing, manufacturing, apparently
                     manufacturing, supplying, assembling, distributing, licensing and/or selling
                     the subject MultiCam CNC Cutting Machine and its component parts in a
                     defective and dangerous condition so as to cause injury to the Plaintiff;
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 10 of 26




    (b) carelessly and negligently failing to implement a safe system for ensuring the
        subject MultiCam CNC Cutting Machine and its component parts could be
        used safely by ordinary consumers/end users of the product, such as Plaintiff;

    (c) carelessly and negligently failing to design, manufacture, apparently
        manufacture, assemble, distribute, license and/or sell the subject MultiCam
        CNC Cutting Machine with durable component parts able to withstand normal
        use;


    (d) carelessly and negligently failing to recognize the inherent possibility that the
        subject MultiCam CNC Cutting Machine and its component parts could
        malfunction and/or fail;


    (e) carelessly and negligently failing to properly equip the subject MultiCam
        CNC Cutting Machine and its component parts with proper safety equipment
        and/or mechanisms to prevent the type of accident which caused Plaintiff’s
        injuries;


    (f) failing to ensure that the subject MultiCam CNC Cutting Machine and its
        component parts could be used in a manner which would not cause a danger to
        end users, such as the Plaintiff;

    (g) failing to use industry-recognized safety specifications in the design of the
        subject MultiCam CNC Cutting Machine;

    (h) carelessly and negligently creating and allowing a dangerous condition to
        exist by failing to provide proper safety and operational instructions to end
        users of its product;

    (i) failing to exercise the requisite degree of care and caution in the design,
        manufacture, apparent manufacture, assembly, distribution, licensing and/or
        sale of the subject MultiCam CNC Cutting Machine and its component parts;

    (j) failing to warn purchasers and end users of the dangers of the subject
        MultiCam CNC Cutting Machine;

    (k) failing to properly and adequately test the subject MultiCam CNC Cutting
        Machine;

    (l) failing to properly and adequately inspect the subject MultiCam CNC Cutting
        Machine;
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 11 of 26




               (m) failing to recall or otherwise remove from retail the subject MultiCam CNC
                   Cutting Machine because of its defective and dangerous condition prior to
                   Plaintiff’s accident;

               (n) failing to ensure that the subject MultiCam CNC Cutting Machine was safe
                   and free from hidden defects;

               (o) failing to identify and correct dangerous and defective conditions in the
                   subject MultiCam CNC Cutting Machine;

               (p) failing to take timely action to warn end consumers or otherwise remedy the
                   defective design, manufacture and/or apparent manufacture of the subject
                   MultiCam CNC Cutting Machine, which should have been known to the
                   Defendant prior to the date of Plaintiff’s accident;

               (q) embossing, affixing and/or otherwise labeling the subject MultiCam CNC
                   Cutting Machine and its component parts with Defendant MultiCam, Inc’s
                   name/trademark “MultiCam” and symbol;

               (r) allowing the subject MultiCam CNC Cutting Machine and its component parts
                   to be embossed, affixed and/or labeled and sold with Defendant MultiCam,
                   Inc’s name/trademark “MultiCam” and symbol, which readily identified
                   Defendant MultiCam, Inc. as the apparent and/or actual manufacturer of the
                   product;

               (s) vicarious liability as an apparent manufacturer of the subject MultiCam CNC
                   Cutting Machine pursuant to the Restatement (Second) of Torts §400; and

               (t) any other acts or omissions that may be revealed during discovery.

        42.    The aforesaid negligence was the sole and proximate cause of Plaintiff’s injuries,

which were due in no manner to any negligence, wrongdoing or product misuse on the part of the

Plaintiff.

        43.    As a result of the aforesaid conduct of Defendant, Plaintiff suffered the injuries

described in paragraphs thirty-one (31) through thirty-eight (38) herein, which are incorporated

by reference as though fully set forth at length.
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 12 of 26




        WHEREFORE, Plaintiff, Gregory Fox, demands judgment in his favor and against

Defendant, MultiCam, Inc., in an amount in excess of One-Hundred-Fifty Thousand Dollars

($150,000.00).

                                         COUNT III
                                GREGORY FOX v. MULTICAM, INC.
                                   BREACH OF WARRANTY

        44.      Plaintiff hereby incorporates paragraphs one (1) through forty-three (43) of the

within Complaint as though the same were fully set forth at length herein.

        45.      By virtue of the manufacture, apparent manufacture, distribution, licensing and/or

sale of the subject MultiCam CNC Cutting Machine for use by an end user and/or consumer,

Defendant, MultiCam, Inc., warranted to Plaintiff that the subject product was safe, merchantable

and fit for its intended use.

        46.      The subject MultiCam CNC Cutting Machine, in fact, was not safe, merchantable

or fit for the ordinary purposes for which it was intended to be used, in that it was defective and

unreasonably dangerous, rendering it unsafe for the foreseeable uses for which it was designed,

manufactured, licensed and/or sold. Plaintiff was a foreseeable user of the subject product and

could reasonably be expected to be injured by the subject product.

        47.      As a result of the foregoing, Defendant is liable to the Plaintiff for the breach of

express and/or implied warranties that the subject MultiCam CNC Cutting Machine and its

component parts were merchantable, fit for use, and suitable and fit for its particular purpose under

common law and 13 Pa. Cons. Stat. §§ 2314 and 2315.

        48.      As a result of the aforesaid conduct of Defendant, Plaintiff suffered the injuries

described in paragraphs thirty-one (31) through thirty-eight (38) herein, which are incorporated

by reference as though fully set forth at length.
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 13 of 26




       WHEREFORE, Plaintiff, Gregory Fox, demands judgment in his favor and against

Defendant, MultiCam, Inc., in an amount in excess of One-Hundred-Fifty Thousand Dollars

($150,000.00).

                                  COUNT IV
             GREGORY FOX v. JOHN DOES 1-5, FICTITIOUS DEFENDANT(S)
                   PRODUCTS LIABILITY – STRICT LIABILITY

       49.       Plaintiff hereby incorporates by reference paragraphs one (1) through forty-eight

(48) of the within Complaint as though the same were fully set forth at length herein.

       50.       Defendant(s), John Does 1-5, Fictitious Defendant(s), designed, manufactured,

apparently manufactured, sold and/or placed into the stream of commerce a defective product that

violated the standards created in Tincher v. Omega Flex, 104 A.3d, 399 (Pa. 2014). More

specifically, the Defendant designed, manufactured, apparently manufactured, sold and/or placed

into the stream of commerce a defective product wherein (a) the danger was unknowable and

unacceptable to the average or ordinary consumer and/or (b) a reasonable person would conclude

that the probability and seriousness of harm caused by the Defendant’s defective product

outweighs the burden or costs of taking precautions.

       51.       Defendant(s), John Does 1-5, Fictitious Defendant(s), designed, manufactured,

apparently manufactured, prepared, assembled, tested, maintained, promoted, marketed, imported,

licensed, distributed and/or sold the aforementioned MultiCam CNC Cutting Machine and/or its

component parts, including all instruction manuals and associated warnings, which caused

Plaintiff’s accident and injuries.

       52.       The accident described herein was caused solely and exclusively by the John Doe

Defendant(s)’s defective design, assembly, manufacture, apparent manufacture, licensing,

distribution and/or sale of the aforesaid MultiCam CNC Cutting Machine and its component parts.
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 14 of 26




       53.     Defendant(s), John Does 1-5, Fictitious Defendant(s) is/are strictly liable to

Plaintiff as follows:

               (a) designing, manufacturing, apparently manufacturing, assembling, licensing,
                   distributing and/or selling the subject MultiCam CNC Cutting Machine and its
                   component parts in a dangerous condition so as to cause injury to the Plaintiff;

               (b) failing to properly design, manufacture, apparently manufacture, assemble,
                   license, distribute and/or sell the subject MultiCam CNC Cutting Machine
                   with durable component parts able to withstand normal use;


               (c) failing to properly design, manufacture, apparently manufacture, assemble,
                   license, distribute and/or sell the subject MultiCam CNC Cutting Machine and
                   its component parts to include an effective and durable safeguard to prevent
                   the accident described above which caused Plaintiff’s injuries;

               (d) failing to properly equip the subject MultiCam CNC Cutting Machine and its
                   component parts with appropriate safety mechanisms to prevent the accident
                   described above which caused Plaintiff’s injuries;

               (e) failing to properly design, manufacture, apparently manufacture, assemble,
                   license, distribute and/or sell the subject MultiCam CNC Cutting Machine and
                   its component parts to warn users of the potential for the type of accident
                   described above which caused Plaintiff’s injuries;


               (f) creating and allowing a dangerous condition to exist by failing to provide
                   proper safety and operational instructions to end users of its product;

               (g) failing to exercise the requisite degree of care and caution in the design,
                   manufacture, apparent manufacture, assembly, licensing, design, distribution
                   and/or sale of the subject MultiCam CNC Cutting Machine and its component
                   parts;

               (h) failing to ensure that the subject MultiCam CNC Cutting Machine was safe
                   and free from hidden defects;

               (i) failing to properly inspect, test, identify and correct dangerous and defective
                   conditions in the subject MultiCam CNC Cutting Machine;
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 15 of 26




                (j) failing to ensure that the subject MultiCam CNC Cutting Machine and its
                    component parts could be used in a manner which would not cause a danger to
                    potential ordinary consumers/users of the product, such as the Plaintiff;

                (k) failing to warn purchases and end users of the dangers of the subject product;

                (l) failing to take timely action to warn end consumers/users or otherwise remedy
                    the defective design, manufacture and/or assembly of the subject product,
                    which should have been known to the Defendant prior to the date of Plaintiff’s
                    accident;


                (m) failing to use industry-recognized safety specifications in the design and
                    manufacture of the subject MultiCam CNC Cutting Machine;

                (n) embossing, affixing and/or otherwise labeling the subject MultiCam CNC
                    Cutting Machine and its component parts with Defendant(s)’s name/trademark
                    and/or symbol;

                (o) allowing the subject MultiCam CNC Cutting Machine and its component parts
                    to be embossed, affixed and/or labeled and sold with Defendant(s)
                    name/trademark and/or symbol which readily identified Defendant(s) as the
                    apparently and/or actual manufacturer of the product;

                (p) vicarious liability as an apparently manufacturer of the subject MultiCam
                    CNC Cutting Machine pursuant to the Restatement (Second) of Torts §400;
                    and

                (q) any other acts or omissions that may be revealed during discovery.

       54.      The accident described herein was due in no manner to negligence, wrongdoing or

product misuse on the part of the Plaintiff.

       55.      At all times relevant hereto, Defendant(s)’s aforesaid MultiCam CNC Cutting

Machine and its component parts were defective and unsafe for consumer use.

       56.      At all times relevant hereto, there were latent defects in the Defendant(s)’s aforesaid

MultiCam CNC Cutting Machine and its component parts such that the product’s defective

condition was unknown to the consumer, therefore rendering the product unacceptable for

consumer use.
           Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 16 of 26




          57.   The Defendant(s) designed, manufactured, apparently manufactured, distributed,

licensed and/or sold the aforesaid MultiCam CNC Cutting Machine and its component parts in a

defective condition in violation of the Restatement (Second) of Torts §402(A), and those defects

were the sole and proximate cause of the Plaintiff’s injuries.

          58.   Defendant(s) is/are strictly liable to Plaintiff as a result of the defective condition

of Defendant’s product.

          59.   In addition, Defendant(s) designed, manufactured, apparently manufactured,

distributed and/or sold the subject MultiCam CNC Cutting Machine with defective warnings and

instructions in violation of the Restatement (Second) of Torts §402(B).

          60.   In that regard, the warnings and instructions were not adequately durable, visible,

or conspicuous, and failed to convey the risk of harm to the intended users of the aforesaid

MultiCam CNC Cutting Machine and its component parts, such as Plaintiff.

          61.   The defective warnings and instructions caused Plaintiff’s injuries.

          62.   Furthermore, Defendant(s) is/are liable and/or vicariously liable to Plaintiff as an

apparent manufacturer of the subject MultiCam CNC Cutting Machine pursuant to the Restatement

(Second) of Torts §400.

          63.   As a result of the aforesaid conduct of John Doe Defendant(s), Plaintiff suffered

the injuries described in paragraphs thirty-one (31) through thirty-eight (38) herein, which are

incorporated by reference as though fully set forth at length.

          WHEREFORE, Plaintiff, Gregory Fox, demands judgment in his favor and against

Defendant(s), John Does 1-5, Fictitious Defendant(s), in an amount in excess of One-Hundred-

Fifty Thousand Dollars ($150,000.00).

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        Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 17 of 26




                                  COUNT V
             GREGORY FOX v. JOHN DOES 1-5, FICTITIOUS DEFENDANT(S)
                      PRODUCTS LIABILITY - NEGLIGENCE

       64.        Plaintiff hereby incorporates by reference paragraphs one (1) through sixty-three

(63) of the within Complaint as though the same were fully set forth at length herein.

       65.        At all times material hereto, Defendant, John Does 1-5, Fictitious Defendant(s),

owed a duty to end users of its product, such as the Plaintiff, to exercise reasonable care in

designing, licensing, manufacturing and apparently manufacturing the aforesaid MultiCam CNC

Cutting Machine and its component parts, and to sell and/or distribute that product in a reasonably

safe condition.

       66.        The Defendant was negligent in designing, manufacturing, apparently

manufacturing, assembling, marketing, licensing, distributing and/or selling the defectively

designed and manufactured MultiCam CNC Cutting Machine and its component parts, which

consisted of the following:

                  (a) carelessly and negligently designing, manufacturing, apparently
                      manufacturing, supplying, assembling, distributing, licensing and/or selling
                      the subject MultiCam CNC Cutting Machine and its component parts in a
                      defective and dangerous condition so as to cause injury to the Plaintiff;

                  (b) carelessly and negligently failing to implement a safe system for ensuring the
                      subject MultiCam CNC Cutting Machine and its component parts could be
                      used safely by ordinary consumers/end users of the product, such as Plaintiff;

                  (c) carelessly and negligently failing to design, manufacture, apparently
                      manufacture, assemble, distribute, license and/or sell the subject MultiCam
                      CNC Cutting Machine with durable component parts able to withstand normal
                      use;


                  (d) carelessly and negligently failing to recognize the inherent possibility that the
                      subject MultiCam CNC Cutting Machine and its component parts could
                      malfunction and/or fail;
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 18 of 26




    (e) carelessly and negligently failing to properly equip the subject MultiCam
        CNC Cutting Machine and its component parts with proper safety equipment
        and/or mechanisms to prevent the type of accident which caused Plaintiff’s
        injuries;


    (f) failing to ensure that the subject MultiCam CNC Cutting Machine and its
        component parts could be used in a manner which would not cause a danger to
        end users, such as the Plaintiff;

    (g) failing to use industry-recognized safety specifications in the design of the
        subject MultiCam CNC Cutting Machine;

    (h) carelessly and negligently creating and allowing a dangerous condition to
        exist by failing to provide proper safety and operational instructions to end
        users of its product;

    (i) failing to exercise the requisite degree of care and caution in the design,
        manufacture, apparent manufacture, assembly, distribution, licensing and/or
        sale of the subject MultiCam CNC Cutting Machine and its component parts;

    (j) failing to warn purchasers and end users of the dangers of the subject
        MultiCam CNC Cutting Machine;

    (k) failing to properly and adequately test the subject MultiCam CNC Cutting
        Machine;

    (l) failing to properly and adequately inspect the subject MultiCam CNC Cutting
        Machine;

    (m) failing to recall or otherwise remove from retail the subject MultiCam CNC
        Cutting Machine because of its defective and dangerous condition prior to
        Plaintiff’s accident;

    (n) failing to ensure that the subject MultiCam CNC Cutting Machine was safe
        and free from hidden defects;

    (o) failing to identify and correct dangerous and defective conditions in the
        subject MultiCam CNC Cutting Machine;

    (p) failing to take timely action to warn end consumers or otherwise remedy the
        defective design, manufacture and/or apparent manufacture of the subject
        MultiCam CNC Cutting Machine, which should have been known to the
        Defendant(s) prior to the date of Plaintiff’s accident;
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 19 of 26




                (q) embossing, affixing and/or otherwise labeling the subject MultiCam CNC
                    Cutting Machine and its component parts with Defendant(s)’s name,
                    trademark and/or symbol;

                (r) allowing the subject MultiCam CNC Cutting Machine and its component parts
                    to be embossed, affixed and/or labeled and sold with Defendant(s)’s name,
                    trademark and/or symbol, which readily identified Defendant(s) as the
                    apparent and/or actual manufacturer of the product;

                (s) vicarious liability as an apparent manufacturer of the subject MultiCam CNC
                    Cutting Machine pursuant to the Restatement (Second) of Torts §400; and

                (t) any other acts or omissions that may be revealed during discovery.

        67.     The aforesaid negligence was the sole and proximate cause of Plaintiff’s injuries,

which were due in no manner to any negligence, wrongdoing or product misuse on the part of the

Plaintiff.

        68.     As a result of the aforesaid conduct of Defendant, Plaintiff suffered the injuries

described in paragraphs thirty-one (31) through thirty-eight (38) herein, which are incorporated

by reference as though fully set forth at length.

        WHEREFORE, Plaintiff, Gregory Fox, demands judgment in his favor and against

Defendant(s), John Does 1-5, Fictitious Defendants in an amount in excess of One-Hundred-Fifty

Thousand Dollars ($150,000.00).

                                   COUNT VI
              GREGORY FOX v. JOHN DOES 1-5, FICTITIOUS DEFENDANT(S)
                             BREACH OF WARRANTY

        69.     Plaintiff hereby incorporates paragraphs one (1) through sixty-eight (68) of the

within Complaint as though the same were fully set forth at length herein.

        70.     By virtue of the manufacture, apparent manufacture, distribution, licensing and/or

sale of the subject MultiCam CNC Cutting Machine for use by an end user and/or consumer,
         Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 20 of 26




Defendant(s), John Does 1-5, Fictitious Defendant(s), warranted to Plaintiff that the subject

product was safe, merchantable and fit for its intended use.

       71.     The subject MultiCam CNC Cutting Machine, in fact, was not safe, merchantable

or fit for the ordinary purposes for which it was intended to be used, in that it was defective and

unreasonably dangerous, rendering it unsafe for the foreseeable uses for which it was designed,

manufactured, licensed and/or sold. Plaintiff was a foreseeable user of the subject product and

could reasonably be expected to be injured by the subject product.

       72.     As a result of the foregoing, Defendant(s) is/are liable to the Plaintiff for the breach

of express and/or implied warranties that the subject MultiCam CNC Cutting Machine and its

component parts were merchantable, fit for use, and suitable and fit for its particular purpose under

common law and 13 Pa. Cons. Stat. §§ 2314 and 2315.

       73.     As a result of the aforesaid conduct of Defendant(s), Plaintiff suffered the injuries

described in paragraphs thirty-one (31) through thirty-eight (38) herein, which are incorporated

by reference as though fully set forth at length.

       WHEREFORE, Plaintiff, Gregory Fox, demands judgment in his favor and against

Defendant(s), John Does 1-5, Fictitious Defendants, in an amount in excess of One-Hundred-Fifty

Thousand Dollars ($150,000.00).



                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury on all claims.
       Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 21 of 26




                                         Respectfully,

                                         SWARTZ CULLETON PC



                                   By:   /s/Brandon A. Swartz
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                                         Attorneys for Plaintiff,
Date: October 25, 2022                   Gregory Fox
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 22 of 26




                          EXHIBIT A
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 23 of 26
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 24 of 26




                          EXHIBIT B
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 25 of 26
Case 2:22-cv-04279-MSG Document 1 Filed 10/25/22 Page 26 of 26
